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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 The State of Texas, et al.,

                        Plaintiffs,
                                                       Case No. 4:20-cv-00957-SDJ
 v.
                                                       Hon. Sean D. Jordan
 Google LLC,

                        Defendant.


PLAINTIFF STATES’ NOTICE OF SUPPLEMENTAL AUTHORITY REGARDING THE
                      RIGHT TO A TRIAL BY JURY

        On April 17, 2025, the Fifth Circuit vacated a civil penalty order against AT&T, holding

that AT&T was entitled to a jury. See AT&T, Inc. v. F.C.C., No. 24-60223, 2025 WL 1135280, at

*10 (5th Cir. Apr. 17, 2025). Its reasoning reinforces Plaintiff States’ arguments in opposition to

Google’s pending motion to strike Plaintiff States’ jury demand, Dkt. 690.

        First, “civil penalties ‘are the prototypical common law remedy’” that are “designed to

‘punish or deter’ violators,” rather than “to ‘restore the status quo’” by “compensat[ing] victims.”

Id. at *4–5 (quoting S.E.C. v. Jarkesy, 603 U.S. 109, 123 (2024)). As Plaintiff States previously

explained, the civil penalties remedy is “all but dispositive” in demonstrating a right to a jury trial.

See Dkt. 753 at 4 (quoting Jarkesy, 603 U.S. at 123); see also Dkt. 834 at 5–6 (summarizing the

analysis for each Plaintiff State and showing that all Plaintiff States are seeking civil penalties).

        Second, the cause of action need not be “identical” to a common law cause of action.

AT&T, 2025 WL 1135280, at *6. Rather, the “key inquiry,” is “whether the statute ‘target[s] the

same basic conduct’ as the common law claim.” Id. at *12 (alteration in original) (quoting Jarkesy,

603 U.S. at 125). There, it was enough that “section 222 action targets a carrier’s negligence in

handling customer data” because it required the carrier to act reasonably. Id. Here, Plaintiff States’


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antitrust claims were actionable at common law, see Dkt. 753 at 9; Dkt. 834 at 5–6, and their DTPA

claims are more closely analogous to legal claims than to equitable claims, see Dkt. 753 at 4–5;

Dkt. 834 at 5–6. If acting reasonably with respect to customer data is close enough to negligence,

then regulating deceptive, misleading, or unconscionable conduct is clearly close enough.

        Third, the Fifth Circuit easily rejected the FCC’s argument that the government is different:

“Nor does it matter that this action is brought by the Government. The Supreme Court ‘ha[s] never

held that “the presence of the United States as a proper party to the proceeding is . . . sufficient”

by itself to trigger the [public rights] exception.’” AT&T, 2025 WL 1135280, at *7 n.11 (alterations

and omission in original) (quoting Jarkesy, 603 U.S. at 135). “Ultimately, ‘what matters’ . . . ‘is

the substance of the suit, not . . . who brings it . . . .’” Id. at *9 (quoting Jarkesy, 603 U.S. at 135).

Likewise, it does not matter for Seventh Amendment analysis that it is the Plaintiff States, rather

than private individuals, who are pursuing these claims—what matters is that these legal claims

for civil penalties are for the jury to decide. See Dkt. 753 at 9–10.




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DATED: May 15, 2025                               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on May 15, 2025, this document was filed electronically in compliance with

Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local

Rule CV-5(a)(3)(A).

                                                   /s/ Ashley Keller
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